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          I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                 T H E W E ST E R N D I ST R I C T O F T E X AS
                         SA N A N T O N I O D IV I SI O N



REGINA AMADOR, Individually                      NO. 5:18-CV-01151-XR
and As Independent Administratrix                   (consolidated with
of the Estate of RICHARD C. RODRI-                  5:18-cv-00555-XR)
GUEZ, Deceased, a/k/a RICARDO
RODRIGUEZ,

Plaintiffs

vs.

UNITED STATES OF
AMERICA,

Defendant



                           FINAL JUDGMENT

      Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF No. 584),
by District Judge Xavier Rodriguez, and Plaintiffs Regina Amador Individually

and as Independent Administratrix of the Estate of Richard C. Rodriguez, De-

ceased a/k/a Ricardo Rodriguez shall recover from the United States in the

amount of:

       1. $150,000 for Regina Amador, Individually; and

       2. $5,006,682 for Regina Amador, as Independent Administratrix
          of the Estate of Richard C. Rodriguez, Deceased a/k/a Ricardo
          Rodriguez.




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      Plaintiffs shall file their bill of costs with this Court within 10 days of en-

try of this judgment, which are to be taxed against the United States.

      Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board of

Governors of the Federal Reserve System, for the calendar week preceding the

Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment, the rate

is set at 1.66 percent.1

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




1   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

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